  Case 2:16-cv-00178-NT Document 20 Filed 08/29/16 Page 1 of 8                                     PageID #: 60




                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF MAINE

RICHARD ALLEN DIXON, JR.,                              )
                                                       )
                  Plaintiff                            )
                                                       )
         v.                                            )        2:16-cv-00178-NT
                                                       )
DALTON GROEGER,                                        )
                                                       )
                  Defendant                            )


     MEMORANDUM OF DECISION ON PLAINTIFF’S MOTION TO AMEND AND
      RECOMMENDED DECISION ON DEFENDANT’S MOTION TO DISMISS


         In this action, Plaintiff Richard Allen Dixon, Jr., alleges that Defendant Dalton Groeger1

violated his constitutional rights while Plaintiff was detained in protective custody at the York

County Jail. Specifically, Plaintiff alleges cruel and unusual punishment in violation of the Eighth

Amendment and retaliation in violation of the First Amendment. (Am. Compl. ¶ 1, ECF No. 4.)

The matter is before the Court on Defendant’s Motion to Dismiss (ECF No. 8) and Plaintiff’s

Motion to Amend his complaint. (ECF No. 15.)

         Following a review of the pleadings, and after consideration of the parties’ submissions, I

grant Plaintiff’s Motion to Amend, and I recommend the Court deny Defendant’s Motion to

Dismiss.




1
  Plaintiff’s first amended complaint (ECF No. 4) identifies the Defendant as “John Doe,” but states that the officer in
question is “believed to be Officer Greger.” (Id. at 2, ¶ 4.) Defendant’s counsel executed a waiver of service form
that identifies the Defendant as “Officer John Doe believed to be Officer Greger.” (ECF No. 8 at 2.) Subsequently,
Defendant filed a motion to dismiss and identified Dalton Groeger as the defendant. The caption of the case shall be
modified accordingly.
    Case 2:16-cv-00178-NT Document 20 Filed 08/29/16 Page 2 of 8                              PageID #: 61




                                            BACKGROUND FACTS

        In his first amended complaint,2 Plaintiff alleges that on August 30, 2015, Defendant

unlocked Plaintiff’s cell door to admit another prisoner, and then watched as the prisoner struck

Plaintiff to awaken him, held a sharpened pencil to Plaintiff’s throat, and threatened Plaintiff that

he must be silent or he would be hurt. (Am. Compl. ¶¶ 6 – 12.)

        Plaintiff filed a grievance against Defendant on September 1, 2015. (Id. ¶ 14.) According

to Plaintiff, on September 8, 2015, Defendant entered Plaintiff’s cell and confronted Plaintiff about

the grievance. (Id. ¶ 15.) On September 11, Plaintiff filed a grievance against Defendant regarding

the September 8 confrontation. (Id. ¶ 18.)

                                                 DISCUSSION

     A. Plaintiff’s Motion to Amend

        When a party seeks to amend a complaint more than 21 days after the filing of a responsive

pleading, the other party’s consent or leave of court is required in order to amend the complaint.

Fed. R. Civ. P. 15(a)(2). In such a case, the court is to grant leave to amend “freely” when “justice

so requires.” Id.; see also Foman v. Davis, 371 U.S. 178, 182 (1962) (“In the absence of any

apparent or declared reason—such as undue delay, bad faith or dilatory motive on the part of the

movant, repeated failure to cure deficiencies by amendments previously allowed, undue prejudice

to the opposing party by virtue of allowance of the amendment, futility of amendment, etc.—the

leave sought should, as the rules require, be ‘freely given.’”). Here, Plaintiff filed his motion soon

after the filing of and in response to the motion to dismiss. Given that Plaintiff filed the motion

before the Court issued a scheduling order, Plaintiff was not dilatory in filing the motion, and the

2
  On April 13, 2016, Plaintiff filed an amended complaint. (ECF No. 4.) In the cover letter that accompanied the
amended complaint, Plaintiff asserted that he intended for the amended complaint to replace rather than supplement
his original complaint. (ECF No. 4-1.)



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 Case 2:16-cv-00178-NT Document 20 Filed 08/29/16 Page 3 of 8                       PageID #: 62




record lacks any evidence of undue prejudice to Defendant. Plaintiff’s motion, therefore, is

granted.

B.     Defendant’s Motion to Dismiss

       Defendant contends Plaintiff has not asserted an actionable claim. When considering

whether a complaint states a claim for which relief may be granted, a court must assume the truth

of all well-plead facts and give the plaintiff the benefit of all reasonable inferences therefrom.

Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a

claim upon which relief can be granted if it does not plead “enough facts to state a claim to relief

that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The

relevant question ... in assessing plausibility is not whether the complaint makes any particular

factual allegations but, rather, whether ‘the complaint warrant[s] dismissal because it failed in toto

to render plaintiffs’ entitlement to relief plausible.’” Rodríguez–Reyes v. Molina–Rodríguez, 711

F.3d 49, 55 (1st Cir. 2013) (quoting Twombly, 550 U.S. at 569 n. 14). Although a pro se plaintiff’s

complaint is subject to “less stringent standards than formal pleadings drafted by lawyers,” Haines

v. Kerner, 404 U.S. 519, 520 (1972), the complaint may not consist entirely of “conclusory

allegations that merely parrot the relevant legal standard,” Young v. Wells Fargo, N.A., 717 F.3d

224, 231 (1st Cir. 2013).

       Defendant’s motion to dismiss is evaluated in the context of the facts Plaintiff alleged in

support of his motion to amend his complaint. (ECF No. 15.) Defendant first argues that the facts

alleged regarding the incident with another prisoner do not describe conduct by the prisoner that

is sufficiently serious to support a constitutional claim and that, regardless of the seriousness of

the prisoner’s conduct, the alleged facts do not suggest that Defendant knew the prisoner would

threaten harm to Plaintiff. (Mot. to Dismiss at 5 – 6.) Defendant contends that Plaintiff’s First



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  Case 2:16-cv-00178-NT Document 20 Filed 08/29/16 Page 4 of 8                     PageID #: 63




Amendment retaliation claim fails because, as a matter of law, the alleged confrontation with

Defendant following the filing of Plaintiff’s grievance was not materially adverse to Plaintiff. (Id.

at 7.)

         In his supplemental pleading, Plaintiff asserts that on August 30, 2015, Plaintiff was in a

room with Defendant and “several young inmates.” Plaintiff describes Defendant as “goofing

around” with the other inmates. When he observed Defendant’s behavior, Plaintiff suggested to

Defendant that he should stop acting like the inmates because he was in charge. Defendant was

offended and exchanged words with Plaintiff. That night, after lockdown, Defendant brought a

prisoner to Plaintiff’s cell. Defendant then “stood there, doing nothing while he watched [the

prisoner harm or threaten Plaintiff].” (ECF No. 15 at 1 – 2, ¶¶ 4 – 6.)

         Plaintiff also alleges that after he filed a grievance based on Defendant’s conduct,

Defendant not only appeared in Plaintiff’s cell to confront him, but also escorted Plaintiff

whenever he went anywhere, including on his daily trips to medical. Plaintiff maintains that when

Defendant accompanied him, Defendant tried to intimidate him. (Id. ¶¶ 13.)

         1. Plaintiff’s use of force claim

         Because Defendant was a state actor, Plaintiff’s claim arises under 42 U.S.C. § 1983 and

the Fourteenth Amendment. “The rights enforceable under [42 U.S.C.] § 1983 emanate through

the Fourteenth Amendment and they include substantive and procedural due process, the equal

protection of the laws, and those rights in the Bill of Rights incorporated by the Due Process

Clause, including rights protected by the First, Second, Fourth, and Eighth Amendments.”

Harpswell Coastal Acad. v. Maine Sch. Admin. Dist. No 75 (Topsham), No. 2:15-cv-00454-JAW,

2015 WL 7194934, at *4 (D. Me. Nov. 16, 2015).




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    Case 2:16-cv-00178-NT Document 20 Filed 08/29/16 Page 5 of 8                                  PageID #: 64




         The standard that governs Plaintiff’s assault-based use of force claim is informed by his

status at the time. That is, whether an Eighth Amendment standard or a Fourth Amendment

standard applies depends on whether at the time Plaintiff was serving a sentence following

conviction or whether he was detained pending the disposition of a criminal charge. Kingsley v.

Hendrickson, 135 S. Ct. 2466, 2473 (2015). Plaintiff’s pleadings do not reflect whether he was

held as a pretrial detainee or was in execution of a sentence.

         If Plaintiff was a pretrial detainee, “the Due Process Clause protects a pretrial detainee

from the use of excessive force that amounts to punishment.” Id. (quoting Graham v. Conner, 490

U.S. 386, 395 n.10 (1989)). The use of force can be considered “punishment” if it was not

“rationally related to a legitimate nonpunitive governmental purpose” or was “excessive in relation

to that purpose.” Id. at 2473 – 74 (quoting Bell v. Wolfish, 490 U.S. 520, 561 (1979)).

         If Plaintiff was serving a sentence, the Eighth Amendment standard governs, and to be

actionable the conduct must involve “unnecessary and wanton infliction of pain.” Whitley v.

Albers, 475 U.S. 312, 319 (1986). The standard requires “more than ordinary lack of due care for

the prisoner’s interests or safety.” Id. In the application of this standard, courts typically consider

“whether force was applied … maliciously and sadistically for the very purpose of causing harm.”

Id. at 320 – 21 (quoting Johnson v. Glick, 481 F.2d 1028, 1033 (2d Cir. 1973)). The “maliciously

and sadistically” terminology was specifically formulated by the Supreme Court to address

situations in which officers apply force “to resolve a disturbance.” Id. at 320. In the case of a

prison disturbance, a court must balance the application of force against the important state interest

of maintaining institutional security. Hope v. Pelzer, 536 U.S. 730, 738 (2002); Whitley, 475 U.S.

at 321 – 22; Skinner v. Cunningham, 430 F.3d 483, 488 (1st Cir. 2005). 3


3
 Defendant asserts that Plaintiff’s claim is also subject to a “deliberate indifference” standard. (Mot. to Dismiss at
4.) Assuming this is correct, purposeful infliction of pain in the absence of any penological justification meets the

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    Case 2:16-cv-00178-NT Document 20 Filed 08/29/16 Page 6 of 8                                   PageID #: 65




         Although Plaintiff has not alleged whether he was a pretrial detainee, he has alleged facts

sufficient to state a claim under either standard. A rational factfinder could reasonably conclude

that an officer who arranges a prisoner-on-prisoner assault or threat has both (1) engaged in an

objectively unreasonable application of force and (2) demonstrated more than ordinary lack of care

and a purpose to cause harm.4

         2. Plaintiff’s retaliation claim

         To state a claim of first amendment retaliation, an inmate must allege (1) that the inmate

engaged in conduct protected by the First Amendment; (2) that the defendant took adverse action

against the inmate because of the protected conduct; and (3) that the adverse action was more than

de minimis, i.e., was sufficient to deter an inmate of ordinary firmness from exercising his or her

first amendment rights. Hannon v. Beard, 645 F.3d 45, 48 (1st Cir. 2011); Davis v. Goord, 320

F.3d 346, 352 (2d Cir. 2003); Thaddeus-X v. Blatter, 175 F.3d 378, 398 (6th Cir. 1999).

         In this Circuit, the filing of a prison grievance is considered protected conduct. Hannon,

645 F.3d at 48 (“The plaintiff, in filing his own grievances and legal actions, plainly engaged in

protected activity.”); Hightower v. Vose, 95 F.3d 1146 (Table), No. 95-2296, 1996 WL 516123,

*1 (1st Cir. Sept. 12, 1996). The issue is whether Defendant’s conduct after Plaintiff’s grievance



deliberate indifference standard. Hope, 536 U.S. at 738. Additionally, a factfinder can “infer the existence of this
subjective state of mind from the fact that the risk of harm is obvious.” Id.
4
  As for Defendant’s argument that the risk of harm, viewed objectively, was not sufficiently serious to support a
constitutional claim, threatening conduct involving the use of weapons and physical contact could generate an
objectively serious risk of harm. Daniels v. Pitkins, No. 3:14-cv-02383, 2015 WL 4985127, at *5 (M.D. Pa. Aug. 19,
2015) (collecting cases). Using a prisoner to administer an assault only enhances the risk. The fact that serious injury
was not inflicted is not dispositive. Wilkins v. Gaddy, 559 U.S. 34, 34, 37 (2010) (per curiam) (citing Hudson v.
McMillian, 503 U.S. 1, 4, 9 (1992)). While Plaintiff does not allege any lasting pain or harm, and while “not ‘every
malevolent touch by a prison guard gives rise to a federal cause of action,’” even de minimis harm can suffice where
the force used is “repugnant to the conscience of mankind” and violates “contemporary standards of decency.” Id.
(quoting Hudson, 503 U.S. at 9). “Otherwise, the Eighth Amendment would permit any physical punishment, no
matter how diabolic or inhuman, inflicting less than some arbitrary quantity of injury.” Hudson, 503 U.S. at 9.
Assuming the alleged conduct occurred, a factfinder should be permitted to assess whether a prison guard who not
only uses a prisoner to deliver a threat with a deadly weapon, but also does so in the absence of any institutional
purpose, violates contemporary standards of decency.

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    Case 2:16-cv-00178-NT Document 20 Filed 08/29/16 Page 7 of 8                                      PageID #: 66




activity was adverse action that would deter an inmate of ordinary firmness from exercising his

right to petition for redress of grievance. “[T]his objective test applies even where a particular

plaintiff was not himself subjectively deterred; that is, where he continued to file grievances and

lawsuits.” Gill v. Pidlypchak, 389 F.3d 379, 381 (2d Cir. 2004); see also Ayotte v. Barnhart, 973

F. Supp. 2d 70, 82 (D. Me. 2013).

         Several circuit courts of appeals have held that harassment and threats can constitute the

necessary adverse action. Brodheim v. Cry, 584 F.3d 1262, 1270 (9th Cir. 2009); Thaddeus-X,

175 F.3d at 398; Burgess v. Moore, 39 F.3d 216, 218 (8th Cir. 1994); Ford v. Palmer, 539 Fed.

App’x 5, 7 (2d Cir. 2013). Harassment, however, is not always actionable. Brown v. Lewis, 865

F. Supp. 2d 642, 648 (E.D. Pa. 2011). For example, a verbal insult alone does not constitute

adverse action. Vincent v. Sitnewski, 117 F. Supp. 3d 329, 340 (S.D.N.Y. 2015) (citing inter alia

Mateo v. Fischer, 682 F. Supp. 2d 423, 434 (S.D.N.Y. 2010) (collecting S.D.N.Y. cases concerning

verbal threats)); Briggs v. Wall, No. 1:09-cv-00456, 2009 WL 4884529, at *5 (D.R.I. Dec. 16,

2009) (“The alleged vague threat of future unspecified discipline … does not constitute ‘adverse

action’”).5 On the other hand, death threats and threats of serious physical harm generally suffice.

Evenstad v. Herberg, 994 F. Supp. 2d 995, 1001 (D. Minn. 2014) (concluding that the statement,

“We’ll be ramping things up,” was too vague to state a claim, where the complaint provided no

context to give the statement chilling effect, such as a “history of abuse or a pattern of threats” or

an accompanying “menacing gesture”).




5
 The First Circuit Court of Appeals has not had many occasions to review adverse action found by a district court to
be de minimis in the context of a prisoner retaliation claim. In Starr v. Dube, the Court held that an allegedly retaliatory
disciplinary charge was not an adverse action where the record established that the prisoner received a hearing before
discipline would be imposed and was successful in overcoming the charge. 334 Fed. App’x 341 (1st Cir. 2009) (per
curiam).

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  Case 2:16-cv-00178-NT Document 20 Filed 08/29/16 Page 8 of 8                        PageID #: 67




       Here, Plaintiff alleges that Defendant appeared in his cell one night and “confronted”

Plaintiff about his grievance (after already having let an inmate into Plaintiff’s cell to assault him).

Subsequently, according to Plaintiff, Defendant regularly “intimidated” Plaintiff during escorts to

Plaintiff’s daily appointments in the prison infirmary.         Although Plaintiff’s allegations are

somewhat general, a factfinder plausibly could conclude, particularly after Defendant allegedly

arranged for an inmate to assault and threaten Plaintiff, that Defendant’s alleged confrontation and

intimidation were sufficient to deter an inmate of ordinary firmness from exercising the inmate’s

constitutional rights. Plaintiff, therefore, has stated an actionable retaliation claim.

                                            CONCLUSION

       Based on the foregoing analysis, Plaintiff’s Motion to Amend (ECF No. 15) is granted. In

addition, I recommend the Court deny Defendant’s Motion to Dismiss (ECF No. 8).

                                              NOTICE

       Any objection to this Memorandum of Decision and Recommended Decision shall
       be filed in accordance with Fed. R. Civ. P. 72. With respect to the order on
       Plaintiff’s Motion to Amend, a party may serve and file objections within fourteen
       (14) days after being served with a copy. Fed. R. Civ. P. 72(a).

       With respect to the recommendations made herein, a party may file objections to
       those specified portions of a magistrate judge’s report or proposed findings or
       recommended decisions entered pursuant to 28 U.S.C. § 636(b)(1)(B) for which de
       novo review by the district court is sought, together with a supporting
       memorandum, within fourteen (14) days of being served with a copy. A responsive
       memorandum shall be filed within fourteen (14) days after the filing of the
       objection. Fed. R. Civ. P. 72(b)(2). Failure to file a timely objection shall constitute
       a waiver of the right to de novo review by the district court and to appeal the district
       court’s order.

                                               /s/ John C. Nivison
                                               U.S. Magistrate Judge

Dated this 29th day of August, 2016.




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